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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
Case No.      2:17-cv-03679-SVW-AGR                                              Date       April 1, 2019

Title         In re Snap Inc. Securities Litigation




 Present: The Honorable      STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                   Paul M. Cruz                                                    N/A
                   Deputy Clerk                                        Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                         N/A                                                          N/A
 Proceedings:             IN CHAMBERS ORDER APPOINTING NEW LEAD PLAINTIFF AND
                          APPROVING OF SELECTION OF COUNSEL [209] [210] [214] [215] [219]
                          [222]

I.      Introduction

        On January 10, 2019, the Court reopened the lead plaintiff appointment process. Dkt. 208 at 4.
The Court permitted any party to move for appointment as lead plaintiff by January 31, 2019. Id. Six
parties timely moved for appointment as lead plaintiff: (1) Sharmilli Ghosh (Dkt. 209); (2) Emad Sayage
(Dkt. 210); (3) the New Mexico State Investment Council (the “NMSIC”) (Dkt. 214); (4) Shinu Gupta
(Dkt. 215); (5) Smilka Melgoza, Rediet Tilahun, Tony Ray Nelson, Rickey E. Butler, and Alan L. Dukes
(collectively, the “Snap Shareholder Group”) (Dkt. 219); and (6) Irland James Stewart, Howard
Weisman, and Sanzhar Khussainov (collectively, the “Snap Investor Group”) (Dkt. 222).

II.     Legal Standard

        The Court discussed the PSLRA’s standard for appointing a lead plaintiff in its September 18,
2017 order. Dkt. 54 at 3-4. Under 15 U.S.C. § 78u-4(a)(3)(B)(i), the Court is to appoint as lead plaintiff
the putative class member-movant that the Court determines to be “most capable of adequately
representing the interests of class members.” A rebuttable presumption is established that the “most
adequate plaintiff” is the person who: (1) has filed the complaint or made a timely motion for lead
plaintiff; (2) possesses the largest financial interest in the litigation; and (3) satisfies the requirements of
Federal Rule of Civil Procedure 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I); In re Cavanaugh, 306 F.3d




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726, 730 (9th Cir. 2002) (describing the PSLRA’s competitive process for determining the “most
adequate plaintiff”); Schriver v. Impac Mortg. Holdings, Inc., No. SACV 06-31 CJC (RNBx), 2006 U.S.
Dist. LEXIS 40607, at *8-10 (C.D. Cal. May 1, 2006).

          Once the court determines who among the movants is the presumptive lead plaintiff, the
presumption can be rebutted upon proof by a putative class member that the presumptive lead plaintiff:
“(aa) will not fairly and adequately protect the interests of the class; or (bb) is subject to unique defenses
that render such plaintiff incapable of adequately representing the class.” 15 U.S.C. § 78u-
4(a)(3)(B)(iii)(II); see also Cavanaugh, 306 F.3d at 730; Schriver, 2006 U.S. Dist. LEXIS 40607, at *8.
The PSLRA’s “sequential” selection process mandates that “[i]f the plaintiff with the greatest financial
stake does not satisfy the Rule 23(a) criteria, the court must repeat the inquiry, this time considering the
plaintiff with the next-largest financial stake, until it finds a plaintiff who is both willing to serve and
satisfies the requirements of Rule 23.” See Cavanaugh, 306 F.3d at 730-32; see also In re Cendant
Corp. Litig., 264 F.3d 201, 267 (3d Cir. 2001) (“If (for any reason) the court determines that the movant
with the largest losses cannot make a threshold showing of typicality or adequacy, then the court should
. . . disqualify that movant from serving as lead plaintiff.”). The PSLRA “does not permit courts simply
to ‘presume’ that the movant with ‘the largest financial interest in the relief sought by the class’ satisfies
the typicality and adequacy requirements.” Cendant, 264 F.3d at 264.

III.    Analysis

         The PSLRA requires this Court first to consider which movant has the largest financial interest
in the litigation.

        A.     Gupta

         Gupta has the largest alleged loss—$1,689,395—during the class period. Dkt. 215-1 at 2. Gupta
is thus the presumptive lead plaintiff. When the Court considered the appointment of a lead plaintiff in
2017, Gupta was also the presumptive lead plaintiff. However, the Court concluded that Gupta was
subject to unique defenses that could render him incapable of adequately representing the putative class.
Of particular importance was the fact that Gupta had purchased approximately 60% of his Snap stock
after news surfaced questioning the strength of Snap’s daily active user growth. The Court noted that




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Defendants might argue that the magnitude of Gupta’s post-disclosure purchases could undermine his
ability to assert the fraud-on-the-market presumption of reliance. Without the presumption of reliance,
proof of individualized reliance from each member of the putative class would be required—which
would effectively preclude class certification. Dkt. 54 at 4-5.

       Nothing in the time since the Court’s prior order has changed this analysis in a significant way.
Gupta argues that the class period has been expanded, new claims have been asserted, and corrective
disclosures have been added. This may be true, but the fact relevant to the Court’s prior order remains
the same: A disproportionately large percentage of Gupta’s stock was purchased post-disclosure. The
Court thus concludes, as before, that Gupta is subject to unique defenses and DENIES his motion for
appointment as lead counsel.

        B.     The NMSIC

        The movant with the next-largest financial interest in the litigation is the NMSIC. The NMSIC
alleges that it suffered losses of $1,068,314 during the class period. Dkt. 216 at 8. Based on this
financial interest, the NMSIC is the second presumptive lead plaintiff.

        The questions the Court next considers are whether the NMSIC would fairly and adequately
protect the interests of the putative class or whether it is subject to unique defenses that render it
incapable of adequately representing the putative class. Importantly, “[t]here is no requirement at this
early stage to prove a defense, only to show a degree of likelihood that a unique defense might play a
significant role at trial.” In re Netflix, Inc., Secs. Litig., No. 12-0225, 2012 WL 1496171, at *5 (N.D.
Cal. Apr. 27, 2012). The purpose of this requirement is to protect absent putative class members; courts
should not appoint a lead plaintiff whose appointment would pose a “danger that absent class members
will suffer if [the lead plaintiff] is preoccupied with defenses unique to it.” Hanon v. Dataproducts
Corp., 976 F.2d 497, 508 (9th Cir. 1992) (citation omitted).

        Several potential problems regarding the NMSIC’s typicality and adequacy have been raised by
the other movants. It is possible that Defendants would not ultimately succeed in asserting any of these
arguments. However, it seems highly likely that the arguments would play a significant role at trial, and
that the NMSIC would have to devote class resources to defending itself. For this reason, the Court




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concludes that the NMSIC does not satisfy the Rule 23 requirements of adequacy and typicality and
DENIES the NMSIC’s motion for appointment as lead counsel.

        First, the NMSIC may face a challenge as to whether it enjoys standing and statutory authority to
bring suit. The NMSIC manages the State of New Mexico’s $23 billion permanent endowment fund.
The issue raised is that, although the NMSIC (i.e., the entity itself) seeks lead plaintiff status, the motion
for lead plaintiff appointment was brought by the “State of New Mexico on behalf of [the NMSIC].” See
Dkt. 214. Furthermore, the NMSIC’s PSLRA certification was signed by New Mexico’s State
Investment Officer (“SIO”) “on behalf of [the NMSIC.]” Dkt. 217-1 at 2. Thus, there is an apparently
complex interplay between three somewhat-independent yet interrelated parties.

         The Court sought clarity on this interplay at the hearing on March 4, 2019. Although the NMSIC
clarified some points—for example, that the State’s Office of the Attorney General authorized the
NMSIC to sue on the State’s behalf—other issues remained opaque. For example, the Court asked the
NMSIC why, in other cases, the PSLRA certification was signed by the Office of New Mexico’s
Attorney General, whereas in this case the certification was completed by the SIO. The NMSIC stated
that it was relying on a decision of the Court of Appeals of New Mexico, which the NMSIC and the
State interpreted to mean that the SIO (on behalf of the NMSIC) should sign. However, the relevant
case, N.M. State Inv. Council v. Weinstein, 382 P.3d 923 (N.M. Ct. App. 2016), does not appear to
provide a clear answer on this issue.1 That the NMSIC and the State of New Mexico had to interpret a
New Mexico state court opinion for guidance on how to proceed in this case—and furthermore that the
case does not provide a clear answer—exposes a possible unique defense that Defendants would likely
seek to exploit.2

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         The case considered, among other things, whether the NMSIC has the authority to settle litigation. Id. at
943 n.9. This is a tangentially related, but certainly not identical, inquiry to that before the Court. Furthermore, the
New Mexico court did not even resolve that question, ultimately “assum[ing] for the purposes of th[e] opinion
that [the] NMSIC had authority to settle with the defendants.” Id.
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         Additionally, the New Mexico Attorney General submitted a declaration in support of the motion, stating
that the NMSIC is “participat[ing] in this litigation as an arm of the State of New Mexico” because “civil claims
belonging to the state . . . [are] under the management and control of the . . . attorney general.” Dkt. 248-1 ¶ 5.
What an “arm of the State” means in this context is not explained. Ultimately, the Court is not satisfied in its




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        Second, the NMSIC sold all of its stock prior to the final corrective disclosure. Some courts have
held that such “in-and-out” traders are inadequate or atypical because they are subject to the unique
defense that they cannot prove loss causation. See, e.g., In re IMAX Secs. Litig., 272 F.R.D. 138, 147
(S.D.N.Y. Dec. 22, 2010); Bensley v. FalconStor Software, Inc., 277 F.R.D. 231, 237-40 (E.D.N.Y.
Aug. 29, 2011); Doshi v. Cable, No. 2:17-025 (WOB-CJS), 2017 WL 5178673, at *2-4 (E.D. Ky. Nov.
7, 2017). The NMSIC responds to this argument by citing primarily to a Central District of California
case, which held that “the fact that two of the Funds Plaintiffs sold their shares during the class period
d[id] not mean that they [were] incapable of proving loss causation.” Maiman v. Talbott, No. SACV 09-
0012 AG (ANx), 2009 WL 10675075, at *3 (C.D. Cal. Sept. 14, 2009). However, the court then
immediately stated that its conclusion regarding loss causation was “especially true since . . . one of the
Funds Plaintiffs . . . did not sell his shares before the end of the class period.” Id. (citing another case
that touted the benefits of a co-lead plaintiff structure) (emphasis added). As discussed above, the Court
need not resolve the dispute at this stage; rather, it is sufficient to conclude that the issue is quite likely
to be raised by Defendants to the detriment of the putative class.

       Third, the NMSIC, like Gupta, made post-disclosure purchases. Unlike Gupta, the NMSIC
purchased only 15% of its Snap stock after the corrective disclosures. Dkt. 238 at 15. However, whether
15% is a disproportionately large percentage of the NMSIC’s stock could be the focus of litigation were
the NMSIC to be appointed lead plaintiff.

        C.      The Snap Shareholder Group

        The movant with the next-largest financial interest in the litigation is the Snap Shareholder
Group. The Snap Shareholder Group alleges that it suffered losses of $486,597 during the class period.
Dkt. 219 at 11. Based on this financial interest, the Snap Shareholder Group is the third presumptive
lead plaintiff.

        As before, the questions the Court next considers are whether the Snap Shareholder Group would
fairly and adequately protect the interests of the putative class or whether it is subject to unique defenses

understanding of which party—the State or the NMSIC—is driving this litigation effort and of the relationship
between the two.




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that render it incapable of adequately representing the putative class. The primary concern raised by the
other movants is that the Snap Shareholder Group is inadequate because it comprises individual
investors who have not made a strong showing that they are fit to serve jointly as lead plaintiffs.

        However, courts have held that such lead plaintiff group structures are not necessarily
inadequate. See, e.g., Miami Police Relief & Pension Fund v. Fusion-io, Inc., No. 13-CV-05368-LHK,
2014 WL 2604991, at *5 (N.D. Cal. June 10, 2014) (collecting cases holding that a group comprising
individual investors may satisfy the PSLRA requirements for lead plaintiff appointment, especially
when supported by declarations attesting to the group’s readiness and willingness to serve collectively
on behalf of the class). Here, the Snap Shareholder Group has submitted a joint declaration, which
establishes the members’ commitment to vigorously pursue the litigation, to oversee counsel to ensure
the case is efficiently litigated in the class’s best interests, to work collaboratively, and to proceed
quickly. Dkt. 219 at 13-15; Dkt. 219-4. Based on the Snap Shareholder Group’s submissions, including
the joint declaration, the Court is satisfied that the Snap Shareholder Group will “fairly and adequately
represent the class as the case moves forward.” Dkt. 54 at 6. The Court thus GRANTS the Snap
Shareholder Group’s motion for appointment as lead plaintiff.

         The Snap Shareholder Group has selected and retained Kessler Topaz to serve as lead counsel
for the putative class.3 As discussed in the Court’s prior order, Kessler Topaz specializes in class action
litigation and has prosecuted numerous other securities fraud class actions. Thus, the Court GRANTS
the Snap Shareholder Group’s motion to approve its selection of Kessler Topaz as lead counsel for the
putative class.

IV.         Conclusion

            For the reasons discussed above, the Court GRANTS the Snap Shareholder Group’s motion for

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         The PSLRA vests authority in the lead plaintiff to select and retain counsel for the class, subject to the
Court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v); Cavanaugh, 306 F.3d at 734 (noting that “the [PSLRA]
clearly leaves the choice of class counsel in the hands of the lead plaintiff”); see also In re Cohen v. U.S. Dist. Ct.
for the N. Dist. of Cal., 586 F.3d 703, 712 (9th Cir. 2009) (“[I]f the lead plaintiff has made a reasonable choice of
counsel, the district court should generally defer to that choice.”).




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appointment as lead plaintiff and for selection of Kessler Topaz to serve as lead counsel (Dkt. 219); the
Court DENIES all of the other related motions (Dkts. 209, 210, 214, 215, and 222).

        IT IS SO ORDERED.




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